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                       IN THE UNITED STATES BANKRUPTCY COURT
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                 FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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10                                                         IN CHAPTER 13 PROCEEDING
       In re:                                              No. 99-99999-
11

12     DEBTOR NAME,                                        ORDER GRANTING DEBTOR’S
                                                           MOTION FOR APPROVAL TO
13                                                         DISBURSE HOMEOWNER
14
                                              Debtor.      ASSISTANCE FUNDS

15
            THIS MATTER came before the Court on the debtor’s Motion for Approval to Disburse
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     Homeowner Assistance Funds (HAF) Grant. Based on the motion and for cause shown, it is
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            ORDERED that:
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            a)       The debtor’s Motion for Approval to Disburse Homeowner Assistance Funds
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     (HAF) Grant is granted;
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            b)       The Washington State Housing Finance Commission (Housing Finance
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     Commission) may disburse the HAF Grant directly to debtor’s mortgage servicer (ECF Claim No.
22
     _______); and
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            c)       Within five days of the Housing Commission disbursing the funds, the debtor, her
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     attorney and / or the Housing Finance Commission shall file a sworn declaration:
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                     1)     Attesting to:
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                            i)       The exact amount the Housing Finance Commission paid;
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                            ii)      When the funds were paid; and
28
                            iii)     To whom; and




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1                  2)     That includes the properly redacted statement and / or reinstatement on
2    which the Housing Commission based its decision on how much to disburse.
3                                        / / /End of Order/ / /
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